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IN THe UNITED STATES DISTRICT Court
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION ACTICN
SLAINTIFF, :
: CASE NO.: O5-1812 (REW}
ve. :
HARLEY G. LAPPIN, DIRECTOR, 2
FEDERAL BUREAU OF PRISONS, :
DEFENDANTS

DECLARATION OF RENEE BRINKER FORNSHILL

I, the undersigned, Renée Brinker Fornenill, do hereby make
the foi.owing unsworn declaration, pertinent to the above-styled

ang numbered cause.

1. I am am attorney for the Federal Bureau of Prisons in
Washington, D.c. I have been employed as an attorney with the

Office cf General Counsel since August 1995,

2. In searching for responsive records I understccd that the
request, 2002-08557, sought copies of all documents showing
all money paid by the Bureau of Prisons for lawsuits and
claims against it from the dates of January 1, 1996, through

and including Culy 31, 20993.

(a

The only responsive records maintained in Washington, D.c.
include twa tort claim letters. All responsive records
maintained by the Washington, D.C., are controlled by this

office. No other records as described in paragraph two are
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maintained by this office. There are ne responsive records

maintained in this office.

The only means of creating an accurate and complete list of
resporsive records raintained in Washington, D.C., was to
review to electronic database records of the Litigation
Branch. <I reviewed the database and file cabinet in my seach

Zor relevant documents.

I conagucted a review by searching in the electronic tert claim
database for the words “approved” and “payment” as search

terms.

Baged on my review of the Cental Gffice files, I determined
that all responsive claims maintained in Washington, B. ¢.,
had been identified and created a list of those identified
gacuments. The electronic database maintained by the
Litigation Branch is the only source that would reveal

responsive documents maintained by Washington, DBD. ¢.

Based on the liat created as a result of my review of
electronic database maintained by the Litigation Branch, =

retrieved and forwarded the responsive documents as described
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in this Geclaration, to Wilson Moorer in their criginal form.

I did not redact the documents or apply any exemptions.

I declare under the penalty of verjury and pursuant to 28
U.S.C. § 1746 that the foregoing is true and correct to the best of

my Knowledge and belief.

Executed thiga 29th day of Marck of 2010.

A Avasl St

Ren Brinker Pornshill
Agsiptant General Counsel
Central Office, Washington, 0.C.

